UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JERELLE DUNN, SAMUEL SEMPLE,
 ANDRE WASHINGTON, MATTHEW
 CHRISTIANSON, WILLIAM CLANTON,                            NOTICE OF MOTION                FOR
 SAMIR SHABAN, and MICHAEL PENA, on                        CLASS CERTIFICATION
 behalf of themselves and all others similarly
 situated,
                                                          Case No: 21-CV-09012 (DLC)
                               Plaintiffs,

                 -against-

 THE CITY OF NEW YORK,

                               Defendant.



         PLEASE TAKE NOTICE that upon the accompanying Declaration of Jonathan C. Moore

dated October 24, 2022, and the exhibits annexed thereto; memorandum of law, and upon all the

previous pleadings and proceedings, Plaintiffs will move this Court, located at 500 Pearl Street,

New York, NY 10007, at a date and time to be decided by the Court, for an order certifying a class

pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for such other and further relief

as is just and proper.


Dated:     New York, New York
           October 24, 2022

BELDOCK LEVINE & HOFFMAN LLP                         RICKNER PLLC


By:                                                  By: __________/s/_____________
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